4:24-cv-03177-SMB-MDN Doc#64-1_ Filed: 01/31/25 Page i1of2-Page ID#1124
Short Message Report

Conversations:1 Participants: 2
Total Messages: 3 Date Range: 9/11/2024

Outline of Conversations

CJ tony@daws-trucking.com » 3 messages on 9/11/2024 » <4026415432> « <tony@daws-trucking.com>

Daws0001822

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Messages in chronological order (times are shown in GMT +00:00)

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tony@daws-trucking.com

<4026415432> 9/11/2024, 11:49 AM
Rick is saying | bought a truck from the LLC. Can you tell me which one it is. | don't think | did

<tony@daws-trucking.com> & 9/11/2024, 11:55 AM
No trucks in Daws Trucking, J&L last one was 7 in Jan 23. Could he be thinking of 110 or any of the others turned back
in?

Receipts . As 9/11/2024, 11:56 AM

<4026415432> 4 9/11/2024, 11:57 AM

7 became 128 I'll ask him to clarify thanks

Daws0001823

